Case 8:22-cv-00511-CEH-TGW Document 98 Filed 07/12/23 Page 1 of 3 PageID 1028



                      UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 Samantha M. Markle,                         Case No. 8:22-cv-00511-CEH-TGW

             Plaintiff,

       vs.
 Meghan Markle,

             Defendant.



      DEFENDANT’S NOTICE OF CHANGE OF DEFENSE COUNSEL’S
          FIRM NAME, AND EMAIL AND OFFICE ADDRESSES

       PLEASE TAKE NOTICE that effective July 5, 2023, the firm Kinsella
 Weitzman Iser Kump Holley LLP, counsel of record for Defendant Meghan,
 The Duchess of Sussex (sued as “Meghan Markle”), has changed its name to
 Kinsella Holley Iser Kump Steinsapir LLP.
       PLEASE TAKE FURTHER NOTICE that effective July 5, 2023, the email
 address for the firm (kwikhlaw.com) has changed to khiks.com. As a result, the email
 addresses for Michael J. Kump, Jonathan Steinsapir, and Nicholas C. Soltman have
 changed to the following:
       Michael J. Kump: mkump@khiks.com
       Jonathan Steinsapir: jsteinsapir@khiks.com
       Nicholas C. Soltman: nsoltman@khiks.com
       PLEASE TAKE FURTHER NOTICE that the firm’s office address has
 changed from 808 Wilshire Boulevard, 3rd Floor, Santa Monica, California 90401 to
 11766 Wilshire Boulevard, Suite 750 Los Angeles, California 90025. The firm’s


                                        1               Case No. 8:22-cv-00511-CEH-TGW
             DEFENDANT’S NOTICE OF CHANGE OF FIRM NAME AND ADDRESSES
Case 8:22-cv-00511-CEH-TGW Document 98 Filed 07/12/23 Page 2 of 3 PageID 1029




 telephone and facsimile numbers remain unchanged. Please update your records and
 service lists accordingly.

        RESPECTFULLY SUBMITTED this 12th day of July, 2023.


                                      KINSELLA HOLLEY ISER KUMP
                                      STEINSAPIR LLP


                                      ___________________________________
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                                      Duchess of Sussex (sued as “Meghan
                                      Markle”)




                                         2               Case No. 8:22-cv-00511-CEH-TGW
              DEFENDANT’S NOTICE OF CHANGE OF FIRM NAME AND ADDRESSES
Case 8:22-cv-00511-CEH-TGW Document 98 Filed 07/12/23 Page 3 of 3 PageID 1030




                            CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing has been furnished to all parties

 registered to receive service via CM/ECF this 12th day of July, 2023.



                                       BITMAN O’BRIEN & MORAT PLLC

                                       /s/ Ronnie Bitman, Esq.________
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                                          3               Case No. 8:22-cv-00511-CEH-TGW
               DEFENDANT’S NOTICE OF CHANGE OF FIRM NAME AND ADDRESSES
